          Case 19-50277-SCS                      Doc 1     Filed 03/02/19 Entered 03/02/19 16:56:49                               Desc Main
                                                           Document     Page 1 of 13
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  Eastern
 ____________________              Virginia
                      District of _________________
                                       (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Insignia Technology Services, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             2 ___
                                           ___ 6 – ___
                                                    1 ___
                                                       5 ___
                                                          9 ___
                                                             3 ___
                                                                7 ___
                                                                   0 ___
                                                                      1
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            610 Thimble Shoals Blvd.
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Building 6
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Newport News                VA       23606
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://insigniatechnology.com
                                           ____________________________________________________________________________________________________

                                           x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           
6.   Type of debtor
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                                                         Document     Page 2 of 13
Debtor           Insignia Technology Services, LLC
                _______________________________________________________                       Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         x None of the above
                                         

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                4 ___
                                             5 ___
                                            ___    1 ___
                                                      6

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         x Chapter 11. Check all that apply:
                                         
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        x No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           x No
                                         
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Insignia Technology Services, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?                        x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      x No
                                       
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                  x Funds will be available for distribution to unsecured creditors.
                                       
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                     x $1,000,001-$10 million
                                                                                                                  $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          Insignia Technology Services, LLC
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                  x $10,000,001-$50 million
                                                                                                                      $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                        02 / 13 / 2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                           _____________________________________________               Frederick P. O'Brien
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Executive Officer
                                            Title _________________________________________




18.   Signature of attorney
                                            /s/ Patrick J. Potter
                                            _____________________________________________              Date
                                                                                                                      03 / 02 / 2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                             Patrick J. Potter
                                            _________________________________________________________________________________________________
                                            Printed name
                                             Pillsbury Winthrop Shaw Pittman LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1200 Seventeenth Street NW
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             Washington
                                            ____________________________________________________            DC
                                                                                                           ____________  20036-3006
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (202) 663-8928
                                            ____________________________________                            patrick.potter@pillsburylaw.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             39766
                                            ______________________________________________________  VA (State & Federal Bar)
                                                                                                   ____________
                                            Bar number                                             State




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                   RESOLUTIONS OF THE BOARD OF MANAGERS OF
                      INSIGNIA TECHNOLOGY SERVICES, LLC

       The Board of Managers (the “Board”) of Insignia Technology Services, LLC (“Insignia”),
a Virginia limited liability company, has adopted the following resolutions.

        WHEREAS, the Board has considered (i) the difficulties confronting Insignia given the
substantial liabilities to its former member; (ii) the financial and operational aspects of Insignia’s
business; (iii) Insignia’s future prospects and financial performance and condition; (iv) current
industry, economic, and market conditions and trends in the markets in which Insignia competes;
and (v) Insignia’s current status in light of recent events; and

       WHEREAS, the Board has received, reviewed and considered various other documents
and information and has had the advice of counsel and other professional advisors concerning
various options available to Insignia.

        NOW, THEREFORE, BE IT RESOLVED, that in the Board’s judgment, it is desirable and
in the best interests of Insignia, its creditors, employees, members and other interested parties that
Insignia file a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”); and it is

       FURTHER RESOLVED, that Frederick P. O’Brien, the sole member and Manager of
Insignia (the “Authorized Officer”), is authorized and empowered to execute, verify and file on
Insignia’s behalf all petitions, schedules, lists, and other papers or documents, and take and
perform any and all further actions and steps that the Authorized Officer deems necessary,
desirable and proper in connection with Insignia’s chapter 11 case, with the goal of successfully
prosecuting such case; and it is

       FURTHER RESOLVED, that the Authorized Officer is authorized to make decisions with
respect to all aspects of the management and operation of Insignia’s business, including
organization, human resources, marketing, asset sales, logistics, finance, administration, and
oversight and prosecution of Insignia’s bankruptcy case, including ensuring compliance with
bankruptcy reporting requirements, the filing of a Statement of Financial Affairs, Schedules of
Assets and Liabilities, a chapter 11 plan and related disclosure statement, managing outside
professionals and such other aspects as the Authorized Officer may identify, in such manner as the
Authorized Officer deems necessary or appropriate in his sole and reasonable discretion consistent
with the business judgment rule, in accordance with Insignia’s Amended and Restated Operating
Agreement, dated as of April 3, 2015 (as may be further amended, the “Operating Agreement”),
applicable laws, and the orders of the bankruptcy court; and it is

       FURTHER RESOLVED, that in the exercise of his authority under these Resolutions, the
Authorized Officer is authorized to consult with Insignia’s employees, outside consultants (paid
and otherwise), Mrs. Christine Curran O’Brien, and others, and with respect to such
communications, all such individuals shall be treated as part of the attorney-client relationship
between Insignia and Pillsbury, Fox (defined below), and any other legal counsel employed by
Insignia; and it is


                                                  1
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        FURTHER RESOLVED, that the previous retention by Insignia of the law firm of
Pillsbury Winthrop Shaw Pittman LLP (“Pillsbury”) as bankruptcy counsel to Insignia to represent
and assist Insignia in connection with its consideration of various insolvency-related obligations
and bankruptcy alternatives, to assist Insignia in carrying out its duties under chapter 11 of the
Bankruptcy Code, and to take any and all actions necessary to advance Insignia’s rights in
connection therewith, is approved and ratified, and the Authorized Officer is authorized and
directed to execute and ratify appropriate retention agreements and to cause to be filed an
appropriate application for authority to retain Pillsbury; and it is

        FURTHER RESOLVED, that the previous retention by Insignia of the law firm of Fox
Rothschild LLP (“Fox”) as legal counsel to Insignia to represent and assist Insignia in connection
with certain legal matters is approved and ratified, and the Authorized Officer is authorized and
directed to execute and ratify appropriate retention agreements and to cause to be filed an
appropriate application for authority to retain Fox; and it is

       FURTHER RESOLVED, that the Authorized Officer is authorized and empowered to
employ on Insignia’s behalf other professionals necessary to assist Insignia in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the officers of Insignia are
authorized and directed to execute appropriate retention agreements and cause to be filed
appropriate applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary, and on such terms as are deemed necessary, desirable and proper; and
it is

         FURTHER RESOLVED, that subject to the foregoing resolutions, the Authorized Officer
is authorized and empowered to take on Insignia’s behalf any and all actions necessary to execute,
deliver, certify, file or record and perform any and all documents, agreements, instruments,
motions, affidavits, applications for approvals or rulings of governmental or regulatory authorities
or certificates and to take any and all actions and steps that the Authorized Officer deems necessary
or desirable to carry out the purpose and intent of each of the foregoing resolutions and to
effectuate a successful chapter 11 proceeding; and it is

       FURTHER RESOLVED, that any and all actions heretofore taken by the Authorized
Officer or the Board in the name and on behalf of Insignia in furtherance of the purpose and intent
of any or all of the foregoing resolutions are hereby ratified, confirmed, and approved in all
respects.




                                              Frederick P. O’Brien
                                              Manager
                                               2/13/19




                                                 2
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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division
__________________________________________
                                           )
In re:                                     )
                                           )
INSIGNIA TECHNOLOGY SERVICES, LLC,1 )            Case No. 19-____
                                           )
            Debtor.                        )     Chapter 11
__________________________________________)

                           STATEMENT OF CORPORATE OWNERSHIP

          Pursuant to Rules 1007(a)(1) and 7007.1(a) of the Federal Rules of Bankruptcy

Procedure, Insignia Technology Services, LLC (the “Debtor”), as debtor and debtor-in-

possession, certifies that no corporation directly or indirectly owns 10% or more of any class of

the corporation’s equity interests. The Debtor further states that there are no entities to report

under Rules 1007(a)(1) and 7007.1(a).

          I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 2, 2019                                 Respectfully submitted,

                                                     /s/ Frederick P. O’Brien
                                                     Frederick P. O’Brien
                                                     President and Chief Executive Officer
                                                     Insignia Technology Services, LLC




1
    The last four digits of the Debtor’s federal tax identification number are: 3701. The Debtor’s address is: 610
    Thimble Shoals Boulevard, Building 6, Newport News, Virginia 23606.
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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division
__________________________________________
                                           )
In re:                                     )
                                           )
INSIGNIA TECHNOLOGY SERVICES, LLC,1 )            Case No. 19-____
                                           )
            Debtor.                        )     Chapter 11
__________________________________________)

        CERTIFICATION CONCERNING LIST OF EQUITY SECURITY HOLDERS

          Insignia Technology Services, LLC (the “Debtor”), debtor and debtor in possession in the

above-captioned chapter 11 case, certifies that the following List of Equity Security Holders is true

and correct to the best of the Debtor’s knowledge and consistent with the Debtor’s books and

records:

                                                                                     Equity Interest
                  Name                           Mailing Address
                                                                                      Percentage
                                         220 Olde Pond Lane
     Frederick P. O’Brien                                                                  100%
                                         Yorktown, VA 23693


          I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 2, 2019                                 Respectfully submitted,

                                                     /s/ Frederick P. O’Brien
                                                     Frederick P. O’Brien
                                                     President and Chief Executive Officer
                                                     Insignia Technology Services, LLC




1
    The last four digits of the Debtor’s federal tax identification number are: 3701. The Debtor’s address is: 610
    Thimble Shoals Boulevard, Building 6, Newport News, Virginia 23606.
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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division
__________________________________________
                                           )
In re:                                     )
                                           )
INSIGNIA TECHNOLOGY SERVICES, LLC,1 )            Case No. 19-____
                                           )
            Debtor.                        )     Chapter 11
__________________________________________)

                    CERTIFICATION CONCERNING LIST OF CREDITORS
                       HOLDING 20 LARGEST UNSECURED CLAIMS

          Insignia Technology Services, LLC (the “Debtor”), as debtor and debtor-in-possession,

certifies that the list of the creditors holding the twenty largest unsecured claims, attached hereto

as Exhibit A (the “List”), is true and correct to the best of its knowledge and consistent with the

Debtor’s books and records. The Debtor will supplement the List to the extent additional

information regarding the creditors holding the twenty largest unsecured claims against the Debtor

becomes available.

          The information contained in the List is based upon a review of the Debtor’s books and

records. The Debtor, however, has not conducted a comprehensive legal or factual investigation

regarding the accuracy of the information or possible defenses to the claims. Consequently, the

List is not: (i) an acknowledgement of the accuracy of the identity of any creditor, the validity of

any claim or the amount of any claim; (ii) an acknowledgement of the allowability of any claim;

or (iii) a waiver of any right or legal position of the Debtor. Further, the Debtor does not concede

that any creditor listed on the List is a properly secured creditor holding a valid, perfected security




1
    The last four digits of the Debtor’s federal tax identification number are: 3701. The Debtor’s address is: 610
    Thimble Shoals Boulevard, Building 6, Newport News, Virginia 23606.
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interest, and the Debtor reserves the right to dispute any such claim by a creditor.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: March 2, 2019                          Respectfully submitted,

                                              /s/ Frederick P. O’Brien
                                              Frederick P. O’Brien
                                              President and Chief Executive Officer
                                              Insignia Technology Services, LLC




                                                 2
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                                    Exhibit A




                                        3
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      Fill in this information to identify the case:

                    Insignia Technology Services, LLC
      Debtor name __________________________________________________________________
                                                Eastern
      United States Bankruptcy Court for the: ______________________              Virginia
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
1     CACI Enterprise Solutions, Inc.       Reagan Anderson                   Government                                                                  $683,917.93
      P.O. Box 418801                       (405) 367-2486                    Contract -
      Boston, MA 02241                      reagan.anderson@caci.com          Subcontractor
                                                                              Services
2     Paylocity                             Missy Allen                       HRIS                                                                           $39,432.00
      3850 N. Wilke Road                    (757) 409-5076                    Payroll Services
      Arlington Heights, IL 60004           mallen@paylocity.com

3     Zeva Incorporated                     Sam Adoni                         Government                                                                     $26,696.00
      11710 Plaza America Dr., Ste. 2000    (888) 938-2462                    Contract -
      Reston, VA 20190                      sam@zeva.us                       Subcontractor
                                                                              Services
4     Alerus Financial                      Andrew Barson                     Employee                                                                       $26,319.63
      P.O. Box 6001                         (603) 206-4650                    Benefits
      Grand Forks, ND 58206                 andrew.barson@alerus.com

5     VAIL Technologies, LLC                Rick Hudnall                     Government                                                                      $21,060.48
      801 South 22nd St.                    rick.hudnall@vailtechnologies.   Contract -
      Arlington, VA 22202                   com                              Subcontractor
                                                                             Services
6     EA Frameworks, LLC                    David Rice                       Government                                                                      $20,700.80
      1716 Briarcrest Drive, Ste. 320       (703) 625-2572                   Contract -
      Bryan, TX 77802                       davidr@eaframeworks.com          Subcontractor
                                                                             Services
7     Global Insights + Solutions LLCKarl Omatsola                            Government                                                                     $19,102.40
      2200 Pennsylvania Avenue, NW   (240) 486-4914                           Contract -
      4th Floor East                 komatsola@global-                        Subcontractor
      Washington, DC 20037           insightsolutions.com                     Services
8 InQuisient                          Kenneth Lui                             Government
  11654 Plaza America Drive Ste. 639 (703) 723-6388                           Contract -                                                                     $18,765.00
  Reston, VA 20190                    kenneth@kennethliuCPA.com               Subcontractor
                                                                              Services



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    Debtor           Insignia Technology Services, LLC
                 _______________________________________________________                          Case number (if known)_____________________________________
                 Name




     Name of creditor and complete          Name, telephone number, and     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

      Thomson Reuters (GRC) Inc.           c/o Jerwyn Louis Subido                                                                                          $17,418.00
9                                                                            Contract               Disputed
      P.O. Box 417175                      (651) 848-5136
                                           jerwynlouis.subido@refinitiv.     Expense
      Boston, MA 02241
                                           com
10 Akshita Tek Systems, Inc,               Bandari Kumar                     Government                                                                     $16,720.00
      19 Latham Village Ln, Unit 5         (518) 545-0080                    Contract -
      Latham, NY 12110                     bandari.kumar@gmail.com           Subcontractor
                                                                             Services
11 Kinetic Solutions, LLC                  Mikael Brhane                     Government                                                                     $16,720.00
      2013 Main Line Blvd, Ste. 102        (703) 969-2328                    Contract -
      Alexandria, VA 22301                 mbrhane@kineticsol.com            Subcontractor
                                                                             Services
12 Leading Strategy, Inc.                   Waqas Mirza                      Consultant                                                                     $15,960.00
      1804 Anderson Rd.                    (703) 462-3579                    Services
      Falls Church, VA 22043               wmirza@leadingstrategyinc.com

13 Fox Rothschild LLP                      Sean Milani-nia                                                                                                   $15,904.00
                                                                             Legal Services
      1030 15th St NW Ste. 380             (202) 461-3105
      Washington, DC 20005                 smilani@foxrothschild.com

14 Sprezzatura Management              Joe Cosentino                        Government
                                                                                                                                                            $15,587.04
      Consulting, LLC                  (202) 841-0644                       Contract -
      P.O. Box 201613 Denver, CO 80220 cosentino@sprezzmc.com               Subcontractor
                                                                            Services
15    PCT LLC                              Chris Cavanos
                                                                            Landlord                                                                        $10,159.26
      1115 Independence Blvd., Ste. 208    (757) 719-9004
      Virginia Beach, VA 23455             ccanavos@canavosproperties
                                           .com
16 Brown & Edwards CPA                      Hugh Barlow                      Accountant                                                                     $10,000.00
      LLP 701 Town Center Dr., Ste. 700     (757) 873-1033
      Newport News, VA 23606                hbarlow@becaps.com

17 Magnum Multimedia Inc.                   John M. Kim                      Web Site Services                                                              $6,764.42
      13800 Coppermine Rd, Ste. 310         (703) 593-2370
      Herndon, VA 20171                     jkim@magnummultimedia
                                            .com
18 Metlife                                  Dyani Ogletree                   Employee                                                                       $5,787.73
      P.O. Box 804466                       (813) 673-3866                   Benefits
      Kansas City, MO 64180                 dyani_ogletree@metlifeservice
                                            .com
19 SDA Solutions, LLC                      Damaso Diaz                 Government                                                                            $5,165.03
      3751 Stonewall Manor Drive           (540) 226-3005              Contract -
      Triangle, VA 22172                   damaso.diaz@sdasolution.com Subcontractor
                                                                       Services
20    Mutual of Omaha                       c/o Audrey Field
                                            (703) 205-8746             Employee                                                                               $4,582.81
      P.O. Box 2147
                                            audrey.field@usi.com       Benefits
      Omaha, NE 68103




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
